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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

            Plaintiff,

            v.                                           Case No. 5:18-CR-40053-02-HLT

 MICHAEL MILLS,

            Defendant.


                                             ORDER

       The United States of America and Defendant Michael Mills jointly move for an order

approving deferred prosecution and delayed discovery until April 23, 2020. Doc. 22. The parties

explain that on April 23, 2019, they executed an agreement for pretrial diversion. In this agreement,

the United States agreed to defer prosecution for a period of twelve months, and Mr. Mills agreed

to deferred prosecution and waived any defense to prosecution on the ground that speedy trial had

been denied. After reviewing the record and applicable law, the Court grants the motion.

       THE COURT THEREFORE ORDERS that the parties’ joint motion to defer prosecution

and delay discovery (Doc. 22) is GRANTED.

       THE COURT FURTHER ORDERS that deferred prosecution and the delay of discovery

is approved through April 23, 2020.

       IT IS SO ORDERED.

       Dated: April 23, 2019                          /s/ Holly L. Teeter
                                                      HOLLY L. TEETER
                                                      UNITED STATES DISTRICT JUDGE
